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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION


 DIONDRAE WILLIAMS, ET AL,                        §
                                                  §
                                                  §   CIVIL ACTION NO. 5:17-CV-00089-RWS
                  Plaintiffs,                     §
                                                  §
 v.                                               §
                                                      CONSOLIDATED CASE
                                                  §
 ROONEY TRUCKING, INC., ET AL,                    §
                                                  §
                                                  §
                  Defendants.
                                                  §


                                             ORDER

          Before the Court is the Report and Recommendation of the Special Master, filed on April

2, 2018. Docket No. 131. Also before the Court are other filings related to the Special Master’s

Report and Recommendation, including the following:

      •   Objection to Report and Recommendation of Special Master (Docket No. 144), filed on
          April 23, 2017 by Lori Brinkley and Reginald Brinkley, Sr. on behalf of claimant R.B.;

      •   Objection to Report and Recommendation of Special Master (Docket No. 146), filed on
          April 23, 2017 by Tonya Turner on behalf of claimant D.T.;

      •   Various notices of acceptance of the Special Master’s recommendations (Docket Nos.
          133-143, 147, 149 and 150); and

      •   Agreed Motion to Disburse Funds (Docket No. 160), filed on August 20, 2018 by Dane
          Ryan Stanage and Acuity, a Mutual Insurance Company and Rooney Trucking, Inc.

      Also pending before the Court is Plaintiffs’ Objection to Report and Recommendation of the

Special Master (Docket No. 155), filed on July 6, 2018 by Plaintiffs Diondre Williams, Xzavion

Neal, Ashton Brown, Kyron Saunders, Tyson Harper, Celeste Brown, Ian Williams and Craig

Jackson on behalf of various minor claimants.
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    Finally, also before the Court is the Special Master’s Motion for Fees (Docket No. 152), filed

on May 7, 2018. The Court issues the following Order addressing each of the pending motions

and objections.

                   I.      BACKGROUND

    This matter arose on March 23, 2017 when a school bus carrying students from Mount

Pleasant Independent School District was struck head-on by a tractor-trailer rig owned and

operated by Rooney Trucking, Inc. The collision resulted in two deaths, including that of Angelica

Beard, an assistant track coach at Mount Pleasant High School, as well as the driver of the Rooney

vehicle.

    A lawsuit filed in Titus County, Texas was removed to this court on April 17, 2017. Docket

No. 1. Other related complaints filed thereafter were consolidated by agreement of the parties

(Docket No. 9), with the earliest removed action (5:17-cv-89) serving as the lead case. On June

1, 2017, Acuity, a Mutual Insurance Company, filed an Original Complaint in Interpleader

pursuant to Fed. R. Civ. P. 22 and 28 U.S.C. 1335 seeking a determination by the Court as to the

proper payment and distribution of insurance proceeds payable under a commercial auto policy

issued by Acuity to Rooney Trucking, Inc. The Court held a scheduling conference on July 20,

2017, setting the case on an April 2018 trial schedule.

                   II.     SPECIAL MASTER                 APPOINTMENT            AND      CLAIMS
                           PROCEDURES

    With respect to the interpleader action, the Court provided notice to the parties on October 13,

2017 that it had determined that the appointment of John Mercy, Esq. as a special master pursuant

to Fed. R. Civ. P. 53 would serve the ends of justice by more efficiently facilitating the litigation

process among the parties. Docket No. 95. No objections to the Court's notice were filed. The

Court held a hearing on November 28, 2017 regarding appointment of Mr. Mercy (Docket No.

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111), and later that day issued an Order Appointing Special Master (Docket No. 110). On

November 30, Mr. Mercy issued a Claims Procedure Guidelines and Scheduling Order (Docket

No. 113) governing consideration of claims submitted for review and recommendation by the

Special Master, including a deadline of February 15, 2018 for providing a completed copy of a

claim information sheet and associated supporting documents. The Special Master issued his

Report and Recommendation on April 2, 2018 (Docket No. 155), and the parties were to accept,

reject or object to the Special Master’s recommendation within 21 days, or by April 24, 2018.

Docket No. 110, p. 4.

                  III.   ACCEPTANCES AND OBJECTIONS

    Most parties accepted the Special Master’s recommendations; only two objections were

timely filed (See Docket Nos. 133-143, 147, 149-150; see also Docket Nos. 144, 146).

    With respect to the objection filed by Lori Brinkley and Reginald Brinkley, Sr. on behalf of

claimant R.B., the Court has reviewed the materials submitted. Docket No. 144. A claim

information sheet, medical records and associated documents regarding R.B.’s claim were timely

provided pursuant to the Special Master’s Claims Procedure Guidelines and Scheduling Order.

The Special Master, however, recommended that R.B. be awarded no portion of the insurance

proceeds. Docket No. 132. Pursuant to the Order Appointing Special Master (Docket No. 110)

and having reviewed the Brinkleys’ submissions, the Court MODIFIES the Special Master’s

recommendation and AWARDS $500 to R.B.

       With respect to the objection filed by Tonya Turner on behalf of claimant D.T., the Court

has reviewed the materials submitted. Docket No. 154. A claim information sheet, medical

records and associated documents regarding D.T.’s claim were timely provided pursuant to the

Special Master’s claims procedure, and the Special Master recommended that D.T. be awarded



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$8,000.00. Pursuant to the order appointing the Special Master and having reviewed Turner’s

submissions, the Court ADOPTS the Special Master’s recommendation and AWARDS D.T.

$8,000.00.

    In addition to the two objections addressed above, untimely objections were filed by Plaintiffs

Diondre Williams, Xzavion Neal, Ashton Brown, Kyron Saunders, Tyson Harper, Celeste Brown,

Ian Williams and Craig Jackson on behalf of various minor claimants on July 6, 2018. These

objections, filed more than two months late, stated that “Plaintiffs submitted the [c]laim

[i]nformation [s]heet and supporting documents, but were still not considered by the Special

Master in his Report and Recommendation.” Docket No. 155, p. 2. On July 9, 2018, the Court

ordered Plaintiffs to submit any evidence demonstrating that Plaintiffs timely submitted the claim

information sheet and supporting documents by the February 15, 2018 deadline or timely objected

to the Special Master’s report and recommendation by the April 23, 2018 deadline. Plaintiffs’

counsel was also ordered to explain why it waited until July 6, 2018 to notify the Court of its

objection to the Special Master’s report and recommendation. In response, Plaintiffs provided an

affidavit explaining that a former legal assistant at Plaintiffs’ counsel’s firm “sent all claim sheets

and documents to the Special Master via certified mail” but that “the green card was never located”

and there is “no proof that the documents were sent by the February 15, 2018 deadline.” Docket

No. 158-1, p. 2. Plaintiffs’ counsel’s response also stated that Plaintiffs’ objection was not timely

filed. It bears noting that Plaintiffs’ counsel has not provided the Court with any relevant claim

information sheets, medical records or other associated documents concerning any of Plaintiffs’

claims, either with its untimely objection on July 6, 2018 or with its response to the Court’s July

9, 2018 order. In light of the above, Plaintiffs’ Objection to the Report and Recommendation of

the Special Master (Docket No. 155) is OVERRULED.



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                   IV.     RELEASES AND DISTRIBUTION OF PROCEEDS

    As indicated above, also before the Court are the notices filed by Plaintiffs accepting the

Special Master’s recommendations. Docket Nos. 133-143, 147, 149-150. The Court previously

ordered that the interpled insurance proceeds be deposited into the Court’s registry (Docket No.

124).

    Also pending before the Court is the Agreed Motion to Disburse Funds filed by Dane Ryan

Stanage and Acuity. Pursuant to the Special Master’s report and recommendation, Stanage is to

be apportioned $240,000.00 of the Acuity insurance funds. Stanage filed his Notice of Acceptance

of the award on April 18, 2018, and the parties have conferred and agreed to a release of liability

with Rooney Trucking. Accordingly, Stanage and Acuity’s request for an order to disburse his

portion of the Acuity insurance funds currently held in the Court’s Registry in accordance with the

Special Master’s recommendations is GRANTED. The Clerk of the Court shall DISBURSE the

amount of $240,000.00 in a check payable to “Andrew Payne Client Trust for Dane Stanage,” plus

24 percent of any accrued interest on the $1,000,000.00 of deposited funds in the Court’s registry.

    With respect to the other claimants, once the parties have filed an appropriate motion

indicating a settlement agreement has been reached as to each claimant, the Clerk of the Court

shall DISBURSE the following amounts to the parties and claimants as indicated below, plus any

accrued interest proportionate to the awards’ percentage of the $1,000,000.00 of deposited funds

in the Court’s registry:


        Party                        Claimant                    Award              Percentage
Mt. Pleasant ISD Workers
Compensation Carrier               David Bagley              $10,000.00             1%
Shirley Beard                      Shirley Beard             0                      0%

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Anterius Beard, Sr.          Anterius Beard, Sr.   $125,000.00           12.5%
Anterius Beard, Sr.
as Next Friend               TB                    $50,000.00            5%
Anterius Beard, Sr.
as Next Friend               TB                    $50,000.00            5%
Mt. Pleasant ISD Workers
Compensation Carrier         Angelica Beard        $45,000.00            4.5%
                                                   conditioned upon
                                                   workers
                                                   compensation
                                                   carrier’s agreement
                                                   to waive all claims
                                                   for credit against
                                                   future payments to
                                                   Anterious Beard,
                                                   Terrelle Beard and
                                                   Terrence Beard

Carl Van Bowen               Carl Van Bowen and
                             wife, Charla Bowen    $320,000.00           32%
Lori Brinkley and Reginald
Brinkley, Sr.                RB                    $500.00               0%
Fructuoso Martinez,
as Next Friend               CC                    $1,000.00             0.1%
Tom and Leachia Craft
as Power of Attorney         DC                    $13,500.00            1.35%
LeKesia and Elywin Evans
as Power of Attorney         JE                    $11,000.00            1.1%
Deanna Williams
as Next Friend               DG                    $5,000.00             0.5%
Devora Hernandez
as Next Friend               IH                    $2,000.00             0.2%
Lisa Bassinger
as Next Friend               HH                    $500.00               0.05%
George Lias
as Next Friend               GL                    $2,000.00             0.2%
Alma Delia Atrizco-Alvarez
as Next Friend               FM                    $15,000.00            1.5%



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Evodia Macareno
as Next Friend                      JM                        $30,000.00            3.0%
Stephanie Scott
as Next Friend                      TM                        $1,000.00             0.1%
Angelica and Silverio Rios
as Power of Attorney                AR                        $11,000.00            1.1%
Mt. Pleasant Workers
Compensation Carrier                RS                        0                     0%
Dane Stanage                        Dane Stanage              $240,000.00           24%
Mt. Pleasant Workers
Compensation Carrier                Dane Stanage              $50,000.00            5%
                                                              conditioned upon
                                                              workers
                                                              compensation
                                                              carrier’s agreement
                                                              to waive all claims
                                                              for additional
                                                              amounts

Tonya Turner
as Next Friend                      DT                        $8,000.00             0.8%
Reyna Rameriz                       HV                        $5,000.00             0.5%
Joyce Wilson
as Next Friend                      AW                        $5,000.00             0.5%


       The Court may issue further orders regarding any special drafting instructions as necessary

or as are required by the Clerk of Court for distribution of the remaining funds.

                   V.      PROVE-UP HEARING

       On July 18, 2018, the Court appointed Carly S. Anderson as guardian ad litem with respect

to the interests of the minor children T.B.#1 and T.B.#2 as their next friend, Anterius Beard, Sr.

has an interest that is potentially adverse to theirs (Docket No. 159).

       The Court SETS this case for a prove-up hearing with regard to the interests of the minor

children T.B.#1 and T.B.#2 on November 28, 2018 at 2 p.m. in Texarkana, Texas. Any additional


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documents the parties intend to rely upon or wish to have entered—including supplemental

briefing or responses, proposed orders or a final judgment relating to the interests of the minor

children T.B.#1 and T.B.#2 —shall be filed by November 20, 2018.

                   VI.     MOTION FOR FEES
     .
         Also before the Court is the Special Master’s Motion for Fees. Docket No. 152. Mr. Mercy

was appointed as Special Master in this case on November 28, 2017. Pursuant to that appointment,

Mr. Mercy has rendered professional services and assistance to the Court. The Court has examined

the invoice previously provided to the Court and has determined that the Special Master’s fees are

reasonable and necessary. Accordingly, the Special Master’s Motion for Fees is GRANTED and

shall be TAXED against Rooney Trucking pursuant to Fed. R. Civ. P. 54(d).


          So ORDERED and SIGNED this 9th day of October, 2018.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE




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